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                           State of Florida

                                     vs.

                             United States



                             Deposition of:

                             Robert Guadian



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   1   ICE shifted its operations away from the detention of
   2   families while adapting new and existing detention
   3   capacity to address an influx along the southwest
   4   border.
   5        What -- What new in the existing detention
   6   capacity is referenced here?
   7        A.    Can you tell me what sentence you're at?
   8        Q.    Okay. It's at the top of page 69, the first
   9   full paragraph, that first sentence after the comma on
  10   the second line, in fiscal near 2021 ICE shifted --
  11        A.    Okay.
  12        Q.    Okay. What -- What are the new and existing
  13   detention capacity that's been added to address the
  14   influx along the southwest border, if you know?
  15        A.    While adapting the new and existing detention
  16   capacity to address the influx along the southwest
  17   border, I think we're primarily talking about the
  18   conversion of family residential centers to adult
  19   detention centers.
  20        Q.    Do you know if any new detention facilities
  21   were built or contracted with for individual adults?
  22        A.    I don't.    But what I can say is we're
  23   continually evaluating our bed space needs and often
  24   discuss with our state, local and contract partners and
  25   within the confines of our bed space appropriations


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   1   with congress, determining our need for beds and
   2   locations as well.
   3        So that's a continuous process.
   4        Q.    Okay. At the end of the paragraph it has some
   5   numbers. And the last two sentences read within fiscal
   6   year 2021 ICE's ATD programs served more than 175,000
   7   participants compared to approximately 120,000
   8   participants in fiscal year 2020; and fiscal year 2021,
   9   85 percent of participants were compliant with the
  10   program and improvement from 67 percent of fiscal year
  11   2020.
  12        When it says 85 percent of the participants were
  13   compliant with the program, are they referring to
  14   Parole Plus ATD?
  15        A.    So this -- I believe this metric is a
  16   accounting for all the participants on ATD, not just
  17   those that are released on Parole Plus ATD.
  18        I would think Parole Plus ATD would be a subset of
  19   this total number since ICE places its own arrest
  20   sometimes on alternatives to detention as well.
  21        Q.    Okay. So ICE releases individual adults under
  22   AD -- under alternatives to detention also?
  23        A.    Correct.
  24        Q.    And is there any way to tell whether this 85
  25   percent number is consistent with, higher or lower with


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